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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION AT DAYTON

UNITED STATES OF AMERICA,                        :   Case No. 3:21-mj-420
                                                 :
        Plaintiff,                               :
                                                 :   Magistrate Judge Peter B. Silvain, Jr.
vs.                                              :
                                                 :
LINDA MATSON,                                    :
                                                 :
        Defendant.                               :
                                                 :

                                      REMOVAL ORDER


        This case came on to be heard pursuant to Fed. R. Crim. P. 5. Defendant herein was

arrested in this District upon a warrant issued upon an Indictment in the United States District

Court for the Eastern District of Missouri in Case No. 4:21-CR-654-SEP-NAB. Defendant

appeared in open Court on November 30, 2021, and was advised of her rights. On advice of

counsel, Defendant waived proof that she is the person named in the Indictment and her right to

an Identity Hearing. The Court finds the waiver, knowing, intelligent and voluntary.

        IT IS ORDERED THAT THE DEFENDANT APPEAR IN THE United States District

Court for the Eastern District of Missouri, where the charges are pending against her, for any

other proceedings, as ordered by that court.

        IT IS FURTHER ORDERED that bond is continued as set by separate Order Setting

Conditions of Defendant’s Release.

November 30, 2021                                     s/Peter B. Silvain, Jr.
                                                      Peter B. Silvain, Jr.
                                                      United States Magistrate Judge
